Case 18-14276          Doc 13       Filed 11/27/18 Entered 11/27/18 10:05:31                      Desc Main
                                       document Page 1 of 1
                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF MASSACHUSETTS
                                   BOSTON DIVISION


                                                    )
 In re                                              )     Chapter 7
                                                    )
 JOAN M FIGUEREO- CASTILLO and                      )     Case No. 18-14276
 YURIDANIA D SUERO,                                 )
 Debtor(s)                                          )     BANKRUPTCY JUDGE
                                                    )     MELVIN S HOFFFMAN




                   REQUEST OF PRA RECEIVABLES MANAGEMENT, LLC
             FOR SERVICE OF NOTICES PURSUANT TO FED. R. BANKR. P. 2002(g)

 PLEASE TAKE NOTICE that PRA Receivables Management, LLC, as authorized agent for Synchrony

 Bank (PayPal Smart Connect [Last four digit of account:8382]), a creditor in the above-captioned chapter

 7 case, requests, pursuant to Rules 2002 and 9007 of the Federal Rules of Bankruptcy Procedure (the

 Bankruptcy Rules) and sections 102(1), 342 and 1109(b) of title 11 of the United States Code, 11 U.S.C.

 §§ 101, et seq. (as amended, the Bankruptcy Code), that all notices given or required to be given and all

 papers served or required to be served in this case be also given to and served, whether electronically or

 otherwise, on:
             Synchrony Bank
             c/o PRA Receivables Management, LLC
             PO Box 41021
             Norfolk, VA 23541
             Telephone: (877)885-5919
             Facsimile: (757) 351-3257
             E-mail: claims@recoverycorp.com


 Dated: Norfolk, Virginia
 November 26, 2018
                                                        By: /s/ Valerie Smith
                                                        Valerie Smith
                                                        c/o PRA Receivables Management, LLC
                                                        Senior Manager
                                                        PO Box 41021
                                                        Norfolk, VA 23541
                                                        (877)885-5919

 Assignee Creditor: PayPal Smart Connect [Last four digit of account:8382]
